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                               IN THE UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                                       Chapter 11
    In re:
                                                                       Case No. 24-90614 (CML)
    Kal Freight Inc., et al.,
                                                                       (Jointly Administered)
                                                 1
                                      Debtors.

                    AMENDED2 AGENDA FOR HEARING SCHEDULED FOR
                  MARCH 12, 2025 AT 10:00 A.M. (PREVAILING CENTRAL TIME)

             The above-referenced debtors and debtors in possession (collectively, the “Debtors”) file this

Agenda for the hearing scheduled for March 12, 2025, at 10:00 a.m. (prevailing Central Time) (the

“Hearing”) before the Honorable Christopher M. Lopez of the United States Bankruptcy Court for

the Southern District of Texas:

A.           MATTERS GOING FORWARD

             1.     Debtors’ Emergency Motion for Entry of an Order (I) Approving Binding Settlement
                    Term Sheet with Participating Lenders and Committee, (II) Authorizing Relief from
                    Automatic Stay and/or Abandonment of Certain Collateral, and (III) Granting
                    Related Relief [Docket No. 691].

                    Response Deadline: On or before the hearing of March 12, 2025 at 10:00 a.m.
                    (CT).

                    Responses Received:

                         (a)     U.S. Bank National Association d/b/a U.S. Bank Equipment Finance’s
                                 Objection to Debtors’ Emergency Motion for Entry of an Order (I)
                                 Approving Binding Settlement Term Sheet With Participating Lenders and
                                 Committee, (II) Authorizing Relief From The Automatic Stay and/or
                                 Abandonment of Certain Collateral, and (III) Granting Related Relief
                                 [Docket No. 699].

                         (b)     Statement of Vanguard National Trailer Corporation and CIMC Reefer
                                 Trailer, Inc. With Respect to Scheduling of Debtors' Emergency Motions to

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      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      numbers, are: KAL Freight Inc. (0249). KAL Aviation LLC (2600). KAL Partz Inc. (0139). KAL Trailers & Leasing
      Inc. (0840). and KVL Tires Inc. (0320). The location of the Debtors’ service address in these Chapter 11 cases is
      10156 Live Oak Ave., Fontana, CA 92335.
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      Amended items are in bold.


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                               (I) Sell Certain Assets and (II) to Enter Into Binding Settlement with
                               Participating Lenders and Committee [Docket No. 702].

                         (c)   Debtors’ Response To Statement of Vanguard National Trailer Corporation
                               and CIMC Reefer Trailer, Inc. With Respect to Scheduling of Debtors’
                               Emergency Motions to (I) Sell Certain Assets and (II) Enter Into Binding
                               Settlement With Participating Lenders and Committee [Docket No. 707].

                         (d)   Joinder by Webster Capital Finance, a Division of Webster Bank, N.A. (as
                               Assignee of JPMorgan Chase Bank, N.A.) in U.S. Bank National
                               Association d/b/a U.S. Bank Equipment Finance’s Objection to Debtors’
                               Emergency Motion for Entry of an Order (I) Approving Binding Settlement
                               Term Sheet With Participating Lenders and Committee, (II) Authorizing
                               Relief from the Automatic Stay and/or Abandonment of Certain Collateral,
                               and (III) Granting Related Relief [Docket No. 724].

                         (e)   Joinder of Simmons Bank to U.S. Bank National Association d/b/a U.S.
                               Bank Equipment Finance's Objection to Debtors' Emergency Motion
                               for Entry of an Order (I) Approving Binding Settlement Term Sheet
                               with Participating Lenders and Committee, (II) Authorizing Relief
                               from the Automatic Stay and/or Abandonment of Certain Collateral,
                               and (III) Granting Related Relief [Docket No. 733].

                         (f)   Notice of PACCAR Financial Corp.'s Joinder to Debtors Emergency
                               Motion For Entry Of An Order (1) Approving Binding Settlement
                               Term Sheet With Participating Lenders And Committee, (II)
                               Authorizing Relief From The Automatic Stay and/or Abandonment Of
                               Certain Collateral, and (III) Granting Related Relief [Docket No. 739].

                         (g)   FRIND-Aerotropolis, LLC’s Objection and Reservation of Rights to
                               Debtors' Emergency Motions for Entry of Orders Authorizing (I) the
                               Sale of Certain Assets; and (II) Entry into a Settlement Agreement
                               Pursuant to Rule 9019 [Docket No. 742].

                    Status:      The matter will go forward.        The Debtors have resolved the
                               Vanguard/CIMC objection through an addendum to the settlement
                               term sheet. The objections in items 1(a) and 1(d), (e), (f), and (g) remain
                               unresolved. The Debtors anticipate proceeding with the amended
                               proposed order filed at Docket No. 749.

          2.        Debtors’ Emergency Motion for Entry of an Order (I) Authorizing (A) the Sale of
                    Certain Assets Free and Clear of Liens, Claims, Rights, Interests, Charges, and
                    Encumbrances, (B) the Debtors to Enter Into and Perform Under the Purchase
                    Agreement, and (C) the Assumption and Assignment of Certain Contracts and
                    Unexpired Leases and (II) Granting Related Relief [Docket No. 692].

                    Response Deadline: On or before the hearing of March 12, 2025 at 10:00 a.m.
                    (CT).



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                    Responses Received:

                         (a)   Statement of Vanguard National Trailer Corporation and CIMC Reefer
                               Trailer, Inc. With Respect to Scheduling of Debtors' Emergency Motions to
                               (I) Sell Certain Assets and (II) to Enter Into Binding Settlement with
                               Participating Lenders and Committee [Docket No. 702].

                         (b)   Debtors’ Response To Statement of Vanguard National Trailer Corporation
                               and CIMC Reefer Trailer, Inc. With Respect to Scheduling of Debtors’
                               Emergency Motions to (I) Sell Certain Assets and (II) Enter Into Binding
                               Settlement With Participating Lenders and Committee [Docket No. 707].

                         (c)   FRIND-Aerotropolis, LLC’s Objection and Reservation of Rights to
                               Debtors' Emergency Motions for Entry of Orders Authorizing (I) the
                               Sale of Certain Assets; and (II) Entry into a Settlement Agreement
                               Pursuant to Rule 9019 [Docket No. 742].

                         (d)   Objection by Rexford Industrial Realty, L.P., a Maryland Limited
                               Partnership to Debtors’ Emergency Motion for Entry of An Order (1)
                               Authorizing (A) the Sale of Certain Assets Free and Clear of Liens,
                               Claims, Rights, Interest, Charges and Encumbrances, (B) The Debtors
                               to Enter Into and Perform Under the Purchase Agreement, and (C) the
                               Assumption and Assignment of Certain Contracts and Unexpired
                               Leases and (II) Granting Related Relief; Statement of Correct Cure
                               Amount and Reservation of Rights [Docket No. 735].

                         (e)   Limited Objection of Dharminder Randhawa and Sikander Randhawa
                               to the Debtors Emergency Motion (I) Authorizing (A) the Sale of
                               Certain Assets Free and Clear of Liens, Claims, Rights, Interests,
                               Charges, and Encumbrances, (B) the Debtors to Enter Into and
                               Perform Under the Purchase Agreement, and (C) the Assumption and
                               Assignment of Certain Contracts and Unexpired Leases and (II)
                               Granting Related Relief [Docket No. 746].

                    Status:      The matter will go forward.     The Debtors have resolved the
                               Vanguard/CIMC objection. Items 2(c) and 2(d) remain pending. The
                               Debtors anticipate proceeding with the amended proposed order filed
                               at Docket No. 752.

Financing Motions

          3.        Debtors’ Emergency Motion For Entry of Interim and Final Authorizing Debtors to
                    (I) Maintain and Continue to Operate Under Factoring and Security Agreement in
                    Order to Sell Accounts Post-Petition to Triumph Pursuant to 11 U.S.C. Section
                    363(b), (c), (f), and (m). (II) Obtain Credit From Triumph Pursuant to 11 U.S.C.
                    Sections 364(c)(1), (c)(2), and (d)(1). (III) Grant Adequate Protection in the Form of
                    First Priority Liens and Security Interests on Property of Debtors Estates Pursuant
                    to 11 U.S.C. Sections 361 and 363(e). (IV) Amend the Factoring and Security
                    Agreement and Grant Triumph Business Capital Additional Liens. (V) Authorize the
                    Debtors to Use Cash Collateral and Grant Triumph Adequate Protection. (VI) Annul
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                    and Modify the Automatic Stay. and (VII) Grant Related Relief all Retroactively to
                    the Petition Date [Docket No. 7].

                    Response Deadline: January 3, 2025 at 4:00 p.m. (CT). The response deadline was
                    extended to January 6, 2025 for Flushing Bank, and through the date of any final
                    hearing set by the Court for Chubb. The deadline for the Committee to respond has
                    been extended by agreement between the Debtors, the Committee, and the applicable
                    lenders.

                    Responses Received:

                         (a)   Limited Objection and Reservation of Rights of Fifth Third Bank, N.A.,
                               Mitsubishi HC Capital Canada, Inc., and Truist Equipment Corp. to the
                               Debtors’ Financing Motions [Docket No. 290].

                         (b)   Mode Transportation, LLC’s Response, Objection and Reservation of
                               Rights to the Adequate Protection Motions Filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 291].

                         (c)   Omnibus Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to the Debtors’ Financing Motions [Docket No. 292].

                         (d)   Premier Trailers, LLC’S Response, Objection, and Reservation of Rights
                               to the Adequate Protection Motions filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 346].

                         (e)   Omnibus Objection of the Official Committee of Unsecured Creditors to
                               Motions Scheduled for March 4, 2025 Hearing and Emergency Cross-
                               Motion for Order Converting Cases to Chapter 7 [Docket No. 582].

                         (f)   Omnibus Objection of the Official Committee of Unsecured Creditors to
                               Motions Scheduled for March 4, 2025 Hearing and Emergency Cross-
                               Motion for Order Converting Cases to Chapter 7 [Docket No. 583].

                         (g)   Banc of America Leasing & Capital, LLC’s Statement Regarding
                               Conversion; the Lifting the Automatic Stay [Docket No. 612].

                    Status: The matter will go forward. The Debtors anticipate proceeding with the
                            amended proposed order filed at Docket No. 750, which incorporates
                            the terms of the settlement term sheet. The Debtors are not aware if
                            any party intends to assert an objection to the revised order.

          4.        Debtors’ Emergency Motion for Entry of Interim and Final Orders (A) Providing
                    Adequate Protection to Daimler Truck Financial Services USA Inc, (B) Modifying the
                    Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related Relief
                    [Docket No. 8].

                    Response Deadline: January 3, 2025 at 4:00 p.m. (CT). The response deadline was
                    extended to January 6, 2025 for Flushing Bank, and through the date of any final
                    hearing set by the Court for Chubb. The deadline for the Committee to respond has

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                    been extended by agreement between the Debtors, the Committee, and the applicable
                    lenders.

                    Responses Received:

                         (a)   Daimler’s Joinder to Debtors’ Emergency Motion for Entry of Interim and
                               Final Orders (A) Providing Adequate Protection to Daimler Truck
                               Financial Services USA Inc, (B) Modifying the Automatic Stay, (C)
                               Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No.
                               96].

                         (b)   Limited Objection of Wells Fargo Equipment Finance, Inc. and Wells
                               Fargo Bank, N.A. to Emergency Adequate Protection Motions [Docket
                               Nos. 265 & 266].

                         (c)   Limited Objection of Atlantic Union Equipment Finance, Inc. to (I)
                               Emergency Cash Collateral Motion and (II) Adequate Protection Motions
                               [Docket No. 288].

                         (d)   PACCAR’s Limited Objection to Debtors’ Emergency Motion for Entry of
                               Interim and Final Orders (A) Providing Adequate Protection to Daimler
                               Truck Financial Services USA Inc, (B) Modifying the Automatic Stay, (C)
                               Scheduling a Final Hearing, and (D) Granting Related Relief. Debtors’
                               Emergency Motion for Entry of Interim and Final Orders (A) Providing
                               Adequate Protection to Banc Of America Leasing & Capital, LLC, (B)
                               Modifying the Automatic Stay, (C) Scheduling a Final Hearing, and (D)
                               Granting Related Relief. Interim Order (A) Providing Adequate Protection
                               to Daimler Truck Financial Services USA Inc, (B) Modifying the
                               Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related
                               Relief. and Interim Order (A) Providing Adequate Protection to Banc of
                               America Leasing & Capital, LLC, (B) Modifying the Automatic Stay, (C)
                               Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No.
                               289].

                         (e)   Limited Objection and Reservation of Rights of Fifth Third Bank, N.A.,
                               Mitsubishi HC Capital Canada, Inc., and Truist Equipment Corp. to the
                               Debtors’ Financing Motions [Docket No. 290].

                         (f)   Mode Transportation, LLC’s Response, Objection and Reservation of
                               Rights to the Adequate Protection Motions Filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 291].

                         (g)   Omnibus Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to the Debtors’ Financing Motions [Docket No. 292].

                         (h)   Joinder of Simmons Bank to (A) Limited Objection of Wells Fargo
                               Equipment Finance, Inc. and Wells Fargo Bank, N.A. to Emergency
                               Adequate Protection Motions and (B) Limited Objection of Atlantic Union
                               Equipment Finance, Inc. to (I) Emergency Cash Collateral Motion and (II)
                               Adequate Protection Motions [Docket No. 297].

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                         (i)   Flushing Bank’s Limited Objection to Entry of Final Orders on Debtors’
                               Emergency Motions for Orders (A) Providing Adequate Protection to TBK
                               Bank, SSB, Daimler Truck Financial Services USA, Inc. and Banc of
                               America Leasing & Capital, LLC (B) Modifying the Automatic Stay, (C)
                               Scheduling Final Hearing and (D) Granting Related Relief [Docket No.
                               308].

                         (j)   Premier Trailers, LLC’S Response, Objection, and Reservation of Rights
                               to the Adequate Protection Motions filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 346].

                         (k)   Omnibus Objection of the Official Committee of Unsecured Creditors to
                               Motions Scheduled for March 4, 2025 Hearing and Emergency Cross-
                               Motion for Order Converting Cases to Chapter 7 [Docket No. 582].

                    Status: The matter will go forward. The Debtors anticipate proceeding with the
                            amended proposed order filed at Docket No. 749, which incorporates
                            the terms of the settlement term sheet. The Debtors are not aware if
                            any party intends to assert an objection to the revised order.

          5.        Debtors’ Emergency Motion for Entry of Interim and Final Orders (A) Authorizing
                    the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the
                    Automatic Stay, and (D) Scheduling a Final Hearing [Docket No. 19].

                    Response Deadline: January 3, 2025 at 4:00 p.m. (CT). The response deadline was
                    extended to January 6, 2025 for Flushing Bank, and through the date of any final
                    hearing set by the Court for Chubb. The deadline for the Committee to respond has
                    been extended by agreement between the Debtors, the Committee, and the applicable
                    lenders.

                    Responses Received:

                         (a)   Limited Objection of Wells Fargo Equipment Finance, Inc. and Wells
                               Fargo Bank, N.A. to Emergency Adequate Protection Motions [Docket
                               Nos. 265 & 266]

                         (b)   Limited Objection of Atlantic Union Equipment Finance, Inc. to (I)
                               Emergency Cash Collateral Motion and (II) Adequate Protection Motions
                               [Docket No. 288].

                         (c)   Limited Objection and Reservation of Rights of Fifth Third Bank, N.A.,
                               Mitsubishi HC Capital Canada, Inc., and Truist Equipment Corp. to the
                               Debtors’ Financing Motions [Docket No. 290].

                         (d)   Mode Transportation, LLC’s Response, Objection and Reservation of
                               Rights to the Adequate Protection Motions Filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 291].

                         (e)   Omnibus Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to the Debtors’ Financing Motions [Docket No. 292].

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                         (f)   Joint Objection of the Texas Taxing Authorities to the Debtors’ Emergency
                               Motion for Entry of Interim and Final Orders (A) Authorizing the Use of
                               Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the
                               Automatic Stay, and (D) Scheduling a Final Hearing [Docket No. 296].

                         (g)   Joinder of Simmons Bank to (A) Limited Objection of Wells Fargo
                               Equipment Finance, Inc. and Wells Fargo Bank, N.A. to Emergency
                               Adequate Protection Motions and (B) Limited Objection of Atlantic Union
                               Equipment Finance, Inc. to (I) Emergency Cash Collateral Motion and (II)
                               Adequate Protection Motions [Docket No. 297].

                         (h)   FRIND-Aerotropolis, LLC’s Limited Objection and Reservation of Rights
                               to Debtors’ Emergency Motion for Entry of Interim and Final Orders (A)
                               Authorizing the Use of Cash Collateral, (B) Providing Adequate
                               Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
                               Hearing [Docket No. 301].

                         (i)   Flushing Bank’s Limited Objection to Entry of Final Orders on Debtors’
                               Emergency Motions for Orders (A) Providing Adequate Protection to TBK
                               Bank, SSB, Daimler Truck Financial Services USA, Inc. and Banc of
                               America Leasing & Capital, LLC (B) Modifying the Automatic Stay, (C)
                               Scheduling Final Hearing and (D) Granting Related Relief [Docket No.
                               308].

                         (j)   Limited Objection and Reservation of Rights of Pioneer Properties and
                               Ferreline A. Wetzel, LLC to Debtors’ Emergency Motion for Entry of
                               Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B)
                               Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D)
                               Scheduling a Final Hearing [Docket No. 323].

                         (k)   Premier Trailers, LLC’S Response, Objection, and Reservation of Rights
                               to the Adequate Protection Motions filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 346].

                         (l)   Omnibus Objection of the Official Committee of Unsecured Creditors to
                               Motions Scheduled for March 4, 2025 Hearing and Emergency Cross-
                               Motion for Order Converting Cases to Chapter 7 [Docket No. 582].

                    Status: The matter will go forward. The Debtors anticipate proceeding with the
                            amended proposed order filed at Docket No. 751, which incorporates
                            the terms of the settlement term sheet. The Debtors are not aware if
                            any party intends to assert an objection to the revised order.

          6.        Debtors’ Emergency Motion for Entry of Interim and Final Orders (A) Providing
                    Adequate Protection to Banc of America Leasing & Capital, LLC, (B) Modifying the
                    Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related Relief
                    [Docket No. 183].

                    Response Deadline: January 3, 2025 at 4:00 p.m. (CT). The response deadline was
                    extended to January 6, 2025 for Flushing Bank. The deadline for the Committee to

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                    respond has been extended by agreement between the Debtors, the Committee, and
                    the applicable lenders.

                    Responses Received:

                         (a)   Limited Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to Debtors’ Emergency Motion for Entry of Interim
                               And Final Orders (A) Providing Adequate Protection To Banc Of America
                               Leasing & Capital, LLC, (B) Modifying The Automatic Stay, (C)
                               Scheduling A Final Hearing, And (D) Granting Related Relief [Docket No.
                               198].

                         (b)   Limited Objection of Wells Fargo Equipment Finance, Inc. and Wells
                               Fargo Bank, N.A. to Emergency Adequate Protection Motions [Docket
                               Nos. 265 & 266].

                         (c)   Limited Objection of Atlantic Union Equipment Finance, Inc. to (I)
                               Emergency Cash Collateral Motion and (II) Adequate Protection Motions
                               [Docket No. 288].PACCAR’s Limited Objection to Debtors’ Emergency
                               Motion for Entry of Interim and Final Orders (A) Providing Adequate
                               Protection to Daimler Truck Financial Services USA Inc, (B) Modifying
                               the Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting
                               Related Relief. Debtors’ Emergency Motion for Entry of Interim and Final
                               Orders (A) Providing Adequate Protection to Banc Of America Leasing &
                               Capital, LLC, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                               Hearing, and (D) Granting Related Relief. Interim Order (A) Providing
                               Adequate Protection to Daimler Truck Financial Services USA Inc, (B)
                               Modifying the Automatic Stay, (C) Scheduling a Final Hearing, and (D)
                               Granting Related Relief. and Interim Order (A) Providing Adequate
                               Protection to Banc of America Leasing & Capital, LLC, (B) Modifying the
                               Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related
                               Relief [Docket No. 289].

                         (d)   Mode Transportation, LLC’s Response, Objection and Reservation of
                               Rights to the Adequate Protection Motions Filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 291].

                         (e)   Omnibus Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to the Debtors’ Financing Motions [Docket No. 292].

                         (f)   Joinder of Simmons Bank to (A) Limited Objection of Wells Fargo
                               Equipment Finance, Inc. and Wells Fargo Bank, N.A. to Emergency
                               Adequate Protection Motions and (B) Limited Objection of Atlantic Union
                               Equipment Finance, Inc. to (I) Emergency Cash Collateral Motion and (II)
                               Adequate Protection Motions [Docket No. 297].

                         (g)   Flushing Bank’s Limited Objection to Entry of Final Orders on Debtors’
                               Emergency Motions for Orders (A) Providing Adequate Protection to TBK
                               Bank, SSB, Daimler Truck Financial Services USA, Inc. and Banc of
                               America Leasing & Capital, LLC (B) Modifying the Automatic Stay, (C)
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                               Scheduling Final Hearing and (D) Granting Related Relief [Docket No.
                               308].

                         (h)   Premier Trailers, LLC’S Response, Objection, and Reservation of Rights
                               to the Adequate Protection Motions filed by the Debtors and Certain
                               Creditors of the Debtors in These Chapter 11 Cases [Docket No. 346].

                         (i)   Omnibus Objection of the Official Committee of Unsecured Creditors to
                               Motions Scheduled for March 4, 2025 Hearing and Emergency Cross-
                               Motion for Order Converting Cases to Chapter 7 [Docket No. 582].

                    Status: The matter will go forward. The Debtors anticipate proceeding with the
                            amended proposed order filed at Docket No. 748, which incorporates
                            the terms of the settlement term sheet. The Debtors are not aware if
                            any party intends to assert an objection to the revised order.

Stay Relief Motions

          7.        Movant Nicholas Conner’s Motion for Relief from Automatic Stay Under 11 U.S.C. §
                    362(d) [Docket No. 163].

                    Response Deadline: January 14, 2025.

                    Responses Received:

                         (a)   Debtors’ Objection to Movant Nicholas Conner’s Motion for Relief from
                               Automatic Stay Under 11 U.S.C. § 362(d) [Docket No. 339].

                         (b)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                    Status: The matter will go forward if the Movant so desires.

          8.        PACCAR Financial Corp.’s Motion for Relief from Automatic Stay Regarding
                    Vehicles, or in the Alternative, Motion for Adequate Protection [Docket No. 332].

                    Response Deadline: January 28, 2025.

                    Responses Received:

                         (a)   Limited Objection and Reservation of Rights of the Official Committee of
                               Unsecured Creditors to PACCAR Financial Corp.'s Motion for Relief from
                               Automatic Stay Regarding Vehicles, or in the Alternative, Motion for
                               Adequate Protection [Docket No. 424].

                         (b)   Debtors' Objection to PACCAR Financial Corp.'s Motion for Relief from
                               Automatic Stay Regarding Vehicles, or in the Alternative, Motion for
                               Adequate Protection [Docket No. 445].

                         (c)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].
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                         (d)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             settlement.

          9.        Atlantic Union Equipment Finance, Inc.’s Motion for Relief from the Automatic Stay
                    [Docket No. 337].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          10.       Motion of De Lage Landen Financial LLC for an Order Granting (I) Relief from the
                    Automatic Stay Pursuant to 11 U.S.C. § 362(d) and (II) Related Relief [Docket No.
                    338].

                    Response Deadline: March 4, 3035.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                         (c)   Reply of De Lage Landen Financial Services, Inc., Fifth Third Bank, N.A.,
                               and Truist Equipment Finance Corp. in Support of Motions for an Order
                               Granting (I) Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)
                               and (II) Related Relief [Docket No. 718].

                    Status: The matter will go forward. The Debtors have filed a proposed omnibus
                            stay relief order at Docket No. 754 which resolves this matter.

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          11.       Motion of Fifth Third Bank, N.A. for an Order Granting (I) Relief from the Automatic
                    Stay Pursuant to 11 U.S.C. § 362(d) and (II) Related Relief [Docket No. 354].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                         (c)   Reply of De Lage Landen Financial Services, Inc., Fifth Third Bank, N.A.,
                               and Truist Equipment Finance Corp. in Support of Motions for an Order
                               Granting (I) Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)
                               and (II) Related Relief [Docket No. 718].

                    Status: The matter will go forward. The Debtors have filed a proposed omnibus
                            stay relief order at Docket No. 754 which resolves this matter.

          12.       Motion of Truist Equipment Corp. for an Order Granting (I) Relief from the
                    Automatic Stay Pursuant to 11 U.S.C. § 362(d) and (II) Related Relief [Docket No.
                    355].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                         (c)   Reply of De Lage Landen Financial Services, Inc., Fifth Third Bank, N.A.,
                               and Truist Equipment Finance Corp. in Support of Motions for an Order
                               Granting (I) Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)
                               and (II) Related Relief [Docket No. 718].

                    Status: The matter will go forward The Debtors have filed a proposed omnibus
                            stay relief order at Docket No. 754 which resolves this matter.

          13.       U.S. Bank National Association d/b/a U.S. Bank Equipment Finance Motion for Relief
                    from the Automatic Stay Under 11 U.S.C. § 362(d) [Docket No. 372].

                    Response Deadline: March 4, 2025.



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                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          14.       Simmons Bank’s Motion for Relief from Automatic Stay or, in the Alternative,
                    Adequate protection [Docket No. 389].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          15.       Motion for Entry of Stipulated Order (A) Providing Adequate Protection to Webster
                    Capital Finance, a Division of Webster Bank, N.A. (as Assignee of JPMorgan Chase
                    Bank, N.A.), (B) Modifying the Automatic Stay, and (C) Granting Related Relief. or,
                    in the Alternative, to Lift the Automatic Stay for Cause Pursuant to 11 U.S.C. §
                    362(d)(1) [Docket No. 393].

                    Response Deadline: February 17, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].


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                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          16.       Emergency Motion for an Order Granting Daimler Truck Financial Services USA
                    LLC Relief from the Automatic Stay and Related Relief [Docket No. 411].

                    Response Deadline: March 12, 2025.

                    Responses Received:

                         (a)   Limited Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to Emergency Motion for an Order Granting Daimler
                               Truck Financial Services USA LLC Relief from the Automatic Stay and
                               Related Relief [Docket No. 479].

                         (b)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (c)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The matter is being resolved through the
                            amended proposed settlement order filed at Docket No. 747.

          17.       Motion of Wallwork Financial Corporation for Entry of a Stipulated Order
                    (A) Approving Adequate Protection to Wallwork Financial Corporation and
                    Granting Related Relief or, in the Alternative, (B) Granting Relief from the Automatic
                    Stay [Docket No. 436].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed a proposed omnibus
                            stay relief order at Docket No. 754 which resolves this matter.

          18.       Motion to Approve Stipulated Order (A) Providing Adequate Protection to M&T
                    Capital and Leasing Corporation, (B) Modifying the Automatic Stay, and
                    (C)Granting Related Relief [Docket No. 440].

                    Response Deadline: February 20, 2025.
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                    Responses Received:

                         (a)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          19.       Motion for Relief from the Automatic Stay to Allow TBK Bank, SSB to Exercise its
                    Rights and Remedies with Respect to (A) Equipment Collateral and (B) Real Property
                    Collateral [Docket No. 523].

                    Response Deadline: March 4, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The matter is being resolved through the
                            amended proposed settlement order filed at Docket No. 754.

          20.       Emergency Joint Motion of Wells Fargo Equipment Finance, Inc. and Wells Fargo
                    Bank, N.A. for Relief from the Automatic Stay [Docket No. 576].

                    Response Deadline: March 18, 2025.

                    Responses Received: None as of the filing of this Agenda.

                    Status: The matter will go forward. The matter is being resolved through the
                    amended proposed settlement order filed at Docket No. 754.

          21.       Premier Trailers, LLC’s Motion to Compel Assumption or Rejection of Equipment
                    Leases Under 11 U.S.C. § 365, or in the Alternative, for Relief from Stay [Docket No.
                    577].

                    Response Deadline: March 18, 2025.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].



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                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have sought to assume and assign
                            the Premier lease agreement as part of the Debtors’ proposed sale motion,
                            which should resolve Premier’s motion.

          22.       Emergency Motion for Setting and Request for Expedited Hearing on Paccar
                    Financial Corp.’s Motion for Relief from Automatic Stay Regarding Vehicles, or in
                    the Alternative, Motion for Adequate Protection [Docket No. 580].

                    Response Deadline: March 4, 2025 at 1:00 pm CT.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed an amended proposed
                             omnibus stay relief order at Docket No. 754 to address the stay relief
                             motions of secured lenders who are not participating in the proposed
                             global settlement.

          23.       Emergency Motion for Setting and Request for Expedited Hearing on Motion for
                    Entry of a Stipulated Order (A) Providing Adequate Protection to Wallwork Financial
                    Corporation and Granting Related Relief or, in the Alternative, (B) Granting Relief
                    From The Automatic Stay [Docket No. 589].

                    Response Deadline: March 4, 2025 at 1:00 p.m. CT.

                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward. The Debtors have filed a proposed omnibus
                            stay relief order at Docket No. 754 which resolves this matter.

          24.       First Western’s Motion for Relief from the Automatic Stay [Docket No. 595].

                    Response Deadline: March 18, 2025.

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                    Responses Received:

                         (a)   Debtors’ Omnibus Objection to Motions for Relief from Stay [Docket No.
                               649].

                         (b)   Omnibus Objection and Reservation of Rights of the Official Unsecured
                               Creditors' Committee to Motions for Relief from the Automatic Stay
                               [Docket No. 666].

                    Status: The matter will go forward if the Movant so desires.

Combined Plan & Disclosure Statement

          25.       Emergency Motion Debtors’ Emergency Motion for Entry of an Order (I) Granting
                    Interim Approval of the Adequacy of Disclosures in the Combined Disclosure
                    Statement and Plan. (II) Scheduling a Combined Confirmation Hearing and Setting
                    Deadlines Related Thereto. (III) Approving Solicitation Packages and Procedures.
                    (IV) Approving the Forms of Ballots. and (V) Granting Related Relief [Docket No.
                    584].

                    Response Deadline: On or before the hearing of March 4, 2025 at 1:00 p.m. (CT).

                    Responses Received:

                         (a)   Objection of Mitsubishi HC Capital Canada Inc., Truist Equipment Finance
                               Corp., and Fifth Third Bank, N.A. to the Combined Disclosure Statement
                               and Plan of Liquidation of Kal Freight Inc. and its Affiliated Debtors Under
                               Chapter 11 of the Bankruptcy Code [Docket No. 574].

                         (b)   Preliminary Objection of Vanguard National Trailer Corporation and CIMC
                               Reefer Trailer, Inc. to the Combined Disclosure Statement and Plan of
                               Liquidation of Kal Freight Inc. and its Affiliated Debtors under Chapter 11
                               of the Bankruptcy Code [Docket No. 578].

                         (c)   New Hope Venture, LLC’s Joinder to Preliminary Objection of Vanguard
                               National Trailer Corporation and CIMC Reefer Trailer, Inc. to the
                               Combined Disclosure Statement and Plan of Liquidation of Debtors Under
                               Chapter 11 of the Bankruptcy Code [Docket No. 590].

                         (d)   Joinder of Triumph Commercial Finance, LLC and TBK Bank, SSB to
                               Objections to the Combined Disclosure Statement and Plan of Liquidation
                               of Kal Freight Inc. and Its Affiliated Debtors Under Chapter 11 of the
                               Bankruptcy Code [Docket No. 591].

                         (e)   MODE Transportation, LLC’s Objection to the Debtors’ Combined
                               Disclosure Statement and Plan of Liquidation of Kal Freight Inc. and its
                               Affiliated Debtors under Chapter 11 of the Bankruptcy Code [Docket No.
                               603].

                         (f)   Objection of Vanguard National Trailer Corporation and CIMC Reefer
                               Trailer, Inc. to Debtors’ Emergency Motion for Entry of an Order (I)
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                               Granting Interim Approval of the Adequacy of Disclosures in the Combined
                               Disclosure Statement and Plan. (II) Scheduling a Combined Confirmation
                               Hearing and Setting Deadlines Related Thereto. (III) Approving Solicitation
                               Packages and Procedures. (IV) Approving the Forms of Ballots. and (V)
                               Granting Related Relief [Docket No. 610].

                         (g)   Joinder of Mitsubishi HC Capital Canada, Inc., Truist Equipment Finance
                               Corporation, and Fifth Third Bank, N.A. to Objection to the Debtors'
                               Emergency Motion for Entry of an Order (I) Granting Interim Approval of
                               the Adequacy of Disclosures in the Combined Disclosure Statement and
                               Plan (II) Scheduling a Combined Confirmation Hearing and Setting
                               Deadlines Related Thereto. (III) Approving Solicitation Packages and
                               Procedures. (IV) Approving the Form of Ballots. and (V) Granting Related
                               Relief [Docket No. 623].

                    Status: The matter will go forward. The Debtors have resolved the items in 25(b),
                             (d), (f), and will be proceeding with the amended proposed order filed
                             at Docket No. 745. The items at 25(a), (c), (e) and (g) are going forward
                             if the objecting parties so desire. .

Conversion Motions

          26.       Emergency Motion of Vanguard National Trailer Corporation and CIMC Reefer
                    Trailer, Inc. to Convert These Cases to Cases Under Chapter 7, or in the Alternative,
                    Appoint a Chapter 11 Trustee [Docket No. 569].

                    Response Deadline: March 4, 2025 at 1:00 pm CT.

                    Responses Received:

                         (a)   Joinder of Mitsubishi HC Capital Canada, Inc., Truist Equipment Finance
                               Corporation, and Fifth Third Bank, N.A. to Motions to Convert the
                               Bankruptcy Cases to Chapter 7 [Docket No. 605].

                         (b)   Flushing Bank's Joinder to Emergency Motions of (A) Vanguard National
                               Trailer Corporation and CIMC Reefer Trailer, Inc. and (B) Official
                               Committee of Unsecured Creditors to Convert These Cases to Cases Under
                               Chapter 7 [Docket No. 619],

                         (c)   TBK, Triumph and Daimler Joint Response to Conversion Motions [Docket
                               No. 622].

                    Status: The matter is being resolved through the amended proposed settlement
                            order filed at Docket No. 749.

          27.       Omnibus Objection of the Official Unsecured Creditors’ Committee to Motions
                    Scheduled for March 4, 2025 Hearing and Emergency Cross-Motion for Order
                    Converting Cases to Chapter 7 [Docket Nos. 582, 583].

                    Response Deadline: March 4, 2025 at 1:00 pm CT.

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                    Responses Received:

                         (a)   Joinder of Mitsubishi HC Capital Canada, Inc., Truist Equipment Finance
                               Corporation, and Fifth Third Bank, N.A. to Motions to Convert the
                               Bankruptcy Cases to Chapter 7 [Docket No. 605].

                         (b)   Flushing Bank's Joinder to Emergency Motions of (A) Vanguard National
                               Trailer Corporation and CIMC Reefer Trailer, Inc. and (B) Official
                               Committee of Unsecured Creditors to Convert These Cases to Cases Under
                               Chapter 7 [Docket No. 619],

                         (c)   TBK, Triumph and Daimler Joint Response to Conversion Motions [Docket
                               No. 622].

                    Status: The matter is being resolved through the amended proposed settlement
                            order filed at Docket No. 749.

          28.       Emergency Motion of the United States Trustee to Convert Cases to Chapter 7
                    [Docket No. 606].

                    Response Deadline: March 4, 2025 at 1:00 pm CT.

                    Responses Received:

                         (a)   TBK, Triumph and Daimler Joint Response to Conversion Motions [Docket
                               No. 622].

                         (b)   Debtors’ Objection to Emergency Motion of the United States Trustee
                               to Convert Cases to Chapter 7 [Docket No. 753].

                    Status: The matter will go forward.

B.        RELATED DOCUMENTS

          1.        [Signed] Interim Order (A) Authorizing the Use of Cash Collateral, (B) Providing
                    Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
                    Hearing [Docket No. 51].

          2.        [Signed] Interim Order (A) Providing Adequate Protection to Daimler Truck
                    Financial Services USA Inc, (B) Modifying the Automatic Stay, (C) Scheduling a
                    Final Hearing, and (D) Granting Related Relief [Docket No. 52].

          3.        [Signed] Interim Order Authorizing Debtors to (I) Maintain and Continue to Operate
                    Under Factoring and Security Agreement in Order to Sell Accounts Post-Petition to
                    Triumph Pursuant to 11 U.S.C. Section 363(b), (c), (f), and (m). (II) Obtain Credit
                    From Triumph Pursuant to 11 U.S.C. Sections 364(c)(1), (c)(2), and (d)(1). (III) Grant
                    Adequate Protection in the Form of First Priority Liens and Security Interests on
                    Property of Debtors Estates Pursuant to 11 U.S.C. Sections 361 and 363(e). (IV)
                    Amend the Factoring and Security Agreement and Grant Triumph Business Capital
                    Additional Liens. (V) Authorize the Debtors to Use Cash Collateral and Grant

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                    Triumph Adequate Protection. (VI) Annul and Modify the Automatic Stay. and (VII)
                    Grant Related Relief all Retroactively to the Petition Date [Docket No. 61].

          4.        [Signed] Interim Order (A) Providing Adequate Protection to Banc of America
                    Leasing & Capital, LLC, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                    Hearing, and (D) Granting Related Relief [Docket No. 219].

          5.        [Signed] Notice of (1) Entry of Interim Order, and (2) Final Hearing Regarding:
                    Debtors’ Emergency Motion for Entry of Interim and Final Orders (A) Providing
                    Adequate Protection to Banc of America Leasing & Capital, LLC, (B) Modifying the
                    Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related Relief
                    [Docket No. 223].

          6.        Notice of Filing Supplement to Atlantic Union Equipment Finance, Inc.’s Motion for
                    Relief from the Automatic Stay [Docket No. 391].

          7.        Stipulation and Order for Interim Relief from the Automatic Stay for Daimler Truck
                    Financial Services USA LLC [Docket No. 432].

          8.        Declaration of Kornelija Marinkovic-Shiver in Support of Emergency Motion for an
                    Order Granting Daimler Truck Financial Services USA LLC Relief from the
                    Automatic Stay and Related Relief [Docket No. 438].

          9.        Supplemental Declaration of Kornelija Marinkovic-Shiver in Support of Emergency
                    Motion for an Order Granting Daimler Truck Financial Services USA LLC Relief
                    from the Automatic Stay and Related Relief [Docket No. 485].

          10.       Second Stipulation and Order for Interim Relief from the Automatic Stay for Daimler
                    Truck Financial Services USA LLC [Docket No. 540].

          11.       U.S. Bank National Association d/b/a U.S. Bank Equipment Finance’s Notice of
                    Intent to Adduce Testimony from a Remote Location by Telephone and Video
                    Technology [Docket No. 653].

          12.       De Lage Landen Financial Services, Inc. Fifth Third Bank, N.A., and Truist
                    Equipment Finance Corp.’s Supplement to Motions for an Order Granting (I) Relief
                    from the Automatic Stay Pursuant to 11 U.S.C § 362(d) and (II) Related Relief
                    [Docket No. 558].

          13.       Declaration of Amy Walker in Support of Motion for Relief from the Automatic Stay
                    to Allow TBK Bank, SSB to Exercise its Rights and Remedies with Respect to (A)
                    Equipment Collateral and (B) Real Property Collateral [Docket No. 585].

          14.       Wallwork Financial Corporation’s Notice of Intent to Adduce Testimony from a
                    Remote Location by Telephone and Video Technology [Docket No. 655].

          15.       Atlantic Union Equipment Finance, Inc.’s Amended Notice of Intent to Adduce
                    Testimony from a Remote Location by Telephone and Video Technology [Docket
                    No. 660].


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          16.       Agreed Order Extending Interim Debtor in Possession Factoring Order and Interim
                    Cash Collateral Order for one Week [Docket No. 646].

          17.       Western Equipment Finance, a Division of First Western Bank & Trust’s Notice of
                    Intent to Adduce Testimony from a Remote Location by Telephone and Video
                    Technology [Docket No. 654].

          18.       PACCAR Financial Corp.’s Witness & Exhibit List [Docket No. 671].

          19.       Western Equipment Finance, a Division of First Western Bank & Trust’s Witness &
                    Exhibit List [Docket No. 681].

          20.       First Amended Combined Disclosure Statement and Plan of Liquidation of Kal
                    Freight Inc. and its Affiliated Debtors under Chapter 11 of the Bankruptcy Code
                    [Docket No. 693].

          21.       [Proposed] Order (I) Granting Interim Approval of the Adequacy of Disclosures in
                    the Combined Plan and Disclosure Statement. (II) Scheduling a Combined
                    Confirmation Hearing and Setting Deadlines Related thereto. (III) Approving
                    Solicitation Packages and Procedures. (IV) Approving the Forms of Ballots. and (V)
                    Granting Related Relief [Docket No. 698].

          22.       [Proposed] Omnibus Order Granting Relief From The Automatic Stay [Docket No.
                    701].

          23.       Wallwork Financial Corporation’s Witness & Exhibit List [Docket No. 703].

          24.       TBK Bank, SSB’s Witness & Exhibit List [Docket No. 709].

          25.       Notice of Filing of Revised Proposed Order Granting Simmons Bank's Motion for
                    Relief From Automatic Stay [Docket No. 710].

          26.       Atlantic Union Equipment Finance, Inc.’s Witness & Exhibit List [Docket No. 711].

          27.       Simmons Bank’s Witness & Exhibit List [Docket No. 712].

          28.       Debtors’ Witness & Exhibit List [Docket No. 713].

          29.       Official Committee of Unsecured Creditors’ Witness & Exhibit List [Docket No.
                    714].

          30.       U.S. Trustee’s Witness & Exhibit List [Docket No. 716].

          31.       U.S. Trustee’s Witness & Exhibit List [Docket No. 717].

          32.       Noor Transport Leasing LLC Witness & Exhibit List [Docket No. 723].

          33.       Vanguard Trailer Corporation and CIMC Reefer Trailer, Inc.’s Witness & Exhibit
                    List [Docket No. 728].



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          34.       Motion of Vanguard National Trailer Corporation and CIMC Reefer Trailer, Inc. to
                    File Under Seal Certain Confidential Information in the Witness and Exhibit List for
                    Hearing Scheduled for March 12, 2025 at 10:00 a.m. (Prevailing Central Time)
                    [Docket No. 730].

          35.       Debtors’ Notice of Filing Plan Exhibits [Docket No. 732].

          36.       Rexford Realty, L.P.’s Witness & Exhibit List [Docket No. 737].

          37.       TBK Bank SSB’s Witness & Exhibit List [Docket No. 739].

          38.       RB Realty Investments, LLC’s Exhibit List [Docket No. 740].

          39.       Amended [Proposed] Order (I) Granting Interim Approval of the Adequacy of
                    Disclosures in the Combined Plan and Disclosure Statement; (II) Scheduling a
                    Combined Confirmation Hearing and Setting Deadlines Related Thereto; (III)
                    Approving Solicitation Packages and Procedures; (IV) Approving the Forms of
                    Ballots; and (V) Granting Related Relief [Docket No. 745].

          40.       [Proposed] Final Order (A) Providing Adequate Protection to Daimler Truck
                    Financial Services USA Inc., (B) Modifying the Automatic Stay, and (C)
                    Granting Related Relief [Docket No. 747].

          41.       [Proposed] Final Order (A) Providing Adequate Protection to Banc of America
                    Leasing & Capital, LLC, (B) Modifying the Automatic Stay, and (C) Granting
                    Related Relief [Docket No. 748].

          42.       [Proposed] Order (I) Approving Binding Settlement Term Sheet With
                    Participating Lenders and Committee, (II) Authorizing Relief From Automatic
                    Stay and/or Abandonment of Collateral, and (III) Granting Related Relief
                    [Docket No. 749].

          43.       [Proposed] Final Order Authorizing Debtors to (I) Maintain, and Continue to
                    Operate Under Factoring and Security Agreement in Order to Sell Accounts
                    Post-Petition to Triumph Business Capital Pursuant to 11 U.S.C. Section 363(b),
                    (c), (f), and (m); (II) Obtain Credit From Triumph Business Capital Pursuant to
                    11 U.S.C. Sections 364(c)(1), (c)(2), and (d)(1); (III) Grant Adequate Protection
                    in the Form of First Priority Liens and Security Interests on Property of
                    Debtors’ Estates Pursuant to 11 U.S.C. Sections 361 and 363(e); (IV) Amend the
                    Factoring and Security Agreement and Grant Triumph Business Capital
                    Additional Liens; (V) Use Cash Collateral and Grant Triumph Adequate
                    Protection; (VI) Annul and Modify the Automatic Stay; and (VII) Grant Related
                    Relief, All Retroactively to the Petition Date [Docket No. 750].

          44.       [Proposed] Final Order (A) Authorizing the Use of Cash Collateral, (B)
                    Providing Adequate Protection, and (C) Modifying the Automatic Stay [Docket
                    No. 751].

          45.       [Proposed] Order (I) Authorizing (A) the Sale of Certain Assets Free and Clear
                    of Liens, Claims, Rights, Interests, Charges, and Encumbrances, (B) the Debtors

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                    to Enter Into and Perform Under the APA, and (C) the Assumption and
                    Assignment of Certain Contracts and Unexpired Leases and (II) Granting
                    Related Relief [Docket No. 752].

          46.       [Proposed] Omnibus Order Granting Relief From the Automatic Stay [Docket
                    No. 754].



 Dated: March 12, 2025                            PACHULSKI STANG ZIEHL & JONES LLP

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                                                  Counsel to the Debtors and Debtors in Possession

                                        Certificate of Service
        I certify that on March 12, 2025, I caused a copy of the foregoing document to be served
via the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                              /s/ Teddy M. Kapur
                                              Teddy M. Kapur




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